Case 2:25-bk-10666-BB Doc 4 Filed 01/30/25 Entered 01/30/25 00:29:54 Desc
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(] Debtor(s) appearing without an attomey
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Attomey or Party Name, Address, Telephone & FAX Nos., State Bar No. & | FOR COURT USE ONLY

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re:
James Byungkook Bae

CASE NO.:
CHAPTER: 7

DECLARATION BY DEBTOR(S) |
AS TO WHETHER INCOME WAS RECEIVED
FROM AN EMPLOYER WITHIN 60 DAYS OF
THE PETITION DATE LE
[11 U.S.C. § 521(a)(1)(B)(iv)]

Debtor(s). [No hearing Required} _ |

) Debtor(s) provides the following declaration(s) as to whether income was received from an emp

Debtor(s) filing this bankruptcy case (Petition Date), as required by 11 U.S.C. § 521(a)(1)(B)(iy): i

Declaration of Debtor 1

1. | am Debtor 1 in this case, and | declare under penalty of perjury that the following information is true and correct:
|

During the 60-day period before the Petition Date (Check only ONE box below): .
|

{J ! was paid by an employer. Attached are copies of all statem
employment income | received from my employer during this 60-day period. (If the |
number or bank account is on a pay stub or other proof of income, the Debtor must

number(s) before filing this declaration.)

t

ents of earnings, pay stubs, or other proof of
Debtor's social security
cross out (redact) the

(¥] | was not paid by an employer because | was either self-employed only, or not employed. |

) jet .
Date: January 29, 2025 James Byungkook Bae ist James Byungkook Bae |
Printed name of Debtor 1 Signature of Debtor 1

loyer within 60 days of the

This form is mandatory. It has been approved for use in the United States Bankruptcy Court

December 2015

for the Central District of California.
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